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  IT IS ORDERED as set forth below:



   Date: July 11, 2018
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:                                         CASE NO. 18-52363 -JWC

 Millard Courtney Farmer, Jr.,                  CHAPTER 13
                Debtor.


               ORDER AUTHORIZING AND DIRECTING MEDIATION
                        OF DISPUTES AMONG PARTIES

       The parties have requested that they be authorized to participate in mediation with

regard to the issues in this proceeding. It appears that the most productive form of mediation

is to designate a current bankruptcy judge with no assignment or responsibility for these

proceedings as a settlement judge to serve as a neutral mediator and that Bankruptcy Judge

Paul W. Bonapfel of this Court is qualified and suitable to serve in that capacity. For good
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cause shown, it is hereby ORDERED as follows:

       1. The parties to this proceeding shall mediate the issues and disputes presented in these

proceedings. Bankruptcy Judge Paul W. Bonapfel is hereby designated as a settlement judge

with regard to this matter for the purpose of conducting mediation proceedings as the neutral

mediator. Such mediation shall be conducted at a time and place and in accordance with

procedures mutually agreed upon by the parties and Judge Paul W. Bonapfel.

       2. Because Judge Paul W. Bonapfel will be serving as the neutral mediator in this matter

and because the nature of the mediation process requires ex parte contacts and communications

between the neutral mediator and each of the sides, the prohibitions of FED. R.BANKR. P. 9003

do not apply to communications among the parties, their attorneys, and Judge Paul W. Bonapfel

in connection with the mediation proceedings. The parties and their attorneys may, therefore,

have ex parte communications with Judge Paul W. Bonapfel in his capacity as the neutral

mediator in connection with the mediation proceedings.

       3. All communications made by the parties or their attorneys to each other or to

Judge Paul W. Bonapfel in connection with the mediation process, the conduct and demeanor of

the parties and their counsel during the mediation, and any documents prepared or produced in

connection with the mediation process, including Judge Paul W. Bonapfel’s notes or records,

shall be confidential and shall not be admissible in evidence or the subject of any discovery in

any proceeding (unless admissible or discoverable without regard to the mediation). The

mediation sessions and any conferences or proceedings in connection therewith shall be treated

as compromise negotiations for purposes of the Federal Rules of Evidence, the Georgia Rules of

Evidence, or any rules of evidence of any other jurisdiction. No record will be made of the

mediation proceedings. Judge Paul W. Bonapfel is disqualified from appearing as a witness in
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any matter, and shall not be called as a witness, with regard to the mediation or any matter

arising out of or related thereto.

                                        END DOCUMENT



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